      Case 18-68708-pmb              Doc 5 Filed 11/06/18 Entered 11/06/18 16:17:14                   Desc Order
                                        Unpaid Fees Petition Page 1 of 1
                                       UNITED STATES BANKRUPTCY COURT
                                            Northern District of Georgia
                                                 Atlanta Division


In     Debtor(s)
Re:    Daryl Joseph Bernard                                       Case No.: 18−68708−pmb
                                                                  Chapter: 7


                        ORDER REGARDING UNPAID FILING FEES
       The Debtor(s) filed a voluntary petition on November 5, 2018. The amount needed to pay the filing fee in full
is $335.00. Accordingly,

IT IS ORDERED that by November 13, 2018, the Debtor(s) shall

   pay the fee in full, the balance due being $335.00

OR

   file an Application to Pay the Filing Fee in Installments. The Application must provide for an initial payment of
$75.00 that is due at the time of filing. The Application must provide for no more than two additional installment
payments. The balance due on the initial payment is $75.00 and must accompany the Application that is due by
November 13, 2018

OR

   file an Application for the waiver of the filing fee, if applicable. Specific conditions apply. If you cannot afford to
pay the fee either in full at the time of filing or in installments, you may request a waiver of the filing fee by
completing an application and filing with the Clerk of Court. A judge will decide whether you have to pay the fee. By
law the judge may waive the fee only if your income is less than 150 percent of the official poverty line applicable to
your family size and you are unable to pay the fee in installments. You may obtain information about the poverty
guidelines at www.uscourts.gov or in the bankruptcy clerk's office.

For payments by mail, remit using cashier's check, money order or attorney's check made payable to "Clerk,
United States Bankruptcy Court" to the address listed below:

                                              United States Bankruptcy Court
                                               1340 Richard Russell Building
                                                 75 Ted Turner Drive, SW
                                                    Atlanta, GA 30303

For payments made by hand delivery to a divisional office in Gainesville, Newnan or Rome, note that cash is
not accepted. You must remit using cashier's check, money order or attorney's check. The Atlanta divisional
office will accept these forms of payment as well as cash.


Failure of the debtor to take the appropriate action by November 13, 2018 will result in dismissal of this case without
further notice or opportunity for hearing.

SO ORDERED, on November 6, 2018 .




                                                                  United States Bankruptcy Judge
                                                                  Paul Baisier



Form 436 Order Regarding Unpaid Filing Fees. − (Revised June, 2015)
